Case 3:23-cv-06133-SK Document 1-1 Filed 11/28/23 Page 1 of 3




               Exhibit A
                 Case 3:23-cv-06133-SK Document 1-1 Filed 11/28/23 Page 2 of 3



  Berkeley
   UNIVERSITY OF CALIFORNIA
                                                                                       Carol T. Christ
                                                                                       CHANCELLOR


                                                                                       200 California Hall #1500
                                                                                       Berkeley, CA 94720-1500
                                                                                       510 642-7464
                                                                                       chancellor@berkeley.edu
                                                                                       chancellor.berkeley.edu
                                                                                       chancellor.berkeley. edu




Dear Jewish Students,
Dear Jewish Students, Faculty,
                      Faculty, and
                               and Staff,
                                   Staff,

II am
   am writing
       writing today
               today to
                     to express
                         express my    support for
                                   my support      you as
                                               for you      valued members
                                                         as valued   members of  of our
                                                                                    our campus
                                                                                         campus
community.
 community. II am
                am concerned
                    concerned about
                                 about how   you and
                                        how you   and members
                                                       members of  of other
                                                                      other communities
                                                                              communities have
                                                                                             have been
                                                                                                   been
impacted
impacted by by the adoption of,
               the adoption       and the
                              of, and the ensuing
                                           ensuing reactions
                                                    reactions to
                                                               to aa bylaw
                                                                     bylaw endorsed
                                                                             endorsed by by certain
                                                                                            certain
Berkeley
 Berkeley Law   student organizations
            Law student   organizations which
                                          which excludes    speakers who
                                                 excludes speakers            support Israel
                                                                        who support            and Zionism.
                                                                                        Israel and  Zionism.
Due
 Due to
      to the
         the extraordinary
             extraordinary complexity     and divisiveness
                             complexity and    divisiveness ofof the
                                                                 the issues
                                                                      issues involved,
                                                                              involved, II have
                                                                                           have been
                                                                                                been
focusing
focusing onon direct
              direct engagement
                     engagement withwith members
                                          members of of the Jewish, Israeli,
                                                        the Jewish,   Israeli, Palestinian,
                                                                               Palestinian, and
                                                                                            and Muslim
                                                                                                 Muslim
communities
 communities andand their  supporters in
                    their supporters       what has
                                        in what  has been
                                                     been a a challenging
                                                              challenging effort
                                                                             effort to
                                                                                    to foster
                                                                                       foster healing.
                                                                                              healing. II will
                                                                                                          will
continue
 continue my
           my efforts
               efforts to
                       to foster
                          foster aa greater
                                    greater degree
                                            degree of
                                                    of mutual
                                                       mutual understanding        across this
                                                                understanding across       this difficult
                                                                                                difficult
divide.
 divide.

II want
   want to
        to convey
           convey my
                   my understanding
                      understanding as
                                     as to  why the
                                        to why       adoption of
                                                 the adoption     the bylaw
                                                               of the        was deeply
                                                                       bylaw was  deeply upsetting
                                                                                          upsetting
to some
to  some Jewish
          Jewish members
                 members of
                          of our
                             our community
                                 community for     whom Zionism
                                               for whom   Zionism is  an indivisible
                                                                   is an indivisible part
                                                                                     part of
                                                                                          of their
                                                                                             their
Jewish identity,
Jewish  identity, and who now
                  and who      say they
                          now say  they no
                                         no longer
                                             longer feel
                                                    feel welcome
                                                         welcome atat events
                                                                      events held
                                                                             held by  some of
                                                                                   by some   of the
                                                                                                the
student organizations
student  organizations that
                       that have
                            have agreed
                                 agreed toto the
                                             the bylaw’s  terms.
                                                 bylaw's terms.

II realize that for
   realize that       some, opposition
                 for some,  opposition to   to Zionism
                                               Zionism is   solely aa function
                                                         is solely    function of the State
                                                                               of the  State of
                                                                                             of Israel’s
                                                                                                Israel's policies
                                                                                                         policies
and actions.
and   actions. II do
                  do not
                      not believe
                          believe criticism
                                     criticism of
                                                of Israel
                                                   Israel is
                                                          is inherently   antisemitic or
                                                             inherently antisemitic       anti-Zionist. II
                                                                                       or anti-Zionist.
understand
 understand thethe reasons
                     reasons forfor opposition
                                    opposition to    some of
                                                 to some    of Israel’s
                                                               Israel's policies
                                                                        policies and  actions. At
                                                                                 and actions.   At the
                                                                                                   the same
                                                                                                       same
time, II have
time,    have observed
               observed that      there are
                           that there     are those
                                              those whose
                                                      whose opposition
                                                              opposition toto Zionism   springs from
                                                                              Zionism springs    from aa belief
                                                                                                         belief
that the
that       Jews as
      the Jews    as a
                     a people
                       people have
                                 have no
                                       no right  to aa homeland—the
                                           right to    homeland —the essence
                                                                          essence of
                                                                                   of Zionism’s
                                                                                      Zionism's original
                                                                                                  original
aspirations. As
aspirations.    As aa result,
                      result, II understand
                                 understand howhow opposition
                                                      opposition toto Zionism  seems for
                                                                       Zionism seems       some to
                                                                                       for some   to be
                                                                                                     be
opposition
opposition to to Israel’s  very existence,
                  Israel's very   existence, and
                                               and therefore
                                                    therefore isis regarded
                                                                   regarded asas antisemitic
                                                                                 antisemitic by   some
                                                                                              by some
members
members of   of the  Jewish community.
                the Jewish    community.

II am
   am also
      also very
           very concerned   about the
                 concerned about   the impact
                                       impact that
                                                that these
                                                     these recent
                                                            recent events,
                                                                     events, the vitriolic social
                                                                             the vitriolic social media
                                                                                                  media
posts,
 posts, and
        and the
            the unbalanced   and inaccurate
                 unbalanced and   inaccurate media
                                               media reporting
                                                      reporting areare having
                                                                       having on  those who
                                                                               on those  who authored
                                                                                               authored
or
or supported the adoption of the bylaw. I condemn the harassment and threats they and
    supported   the adoption of the  bylaw.  I condemn    the  harassment   and  threats  they      their
                                                                                               and their
supporters have
supporters   have been   subject to
                   been subject     and, in
                                 to and, in particular,
                                             particular, the
                                                         the truck-borne
                                                              truck-borne billboards
                                                                            billboards that
                                                                                        that have
                                                                                              have
singled out
singled  out and  attacked many
             and attacked         student leaders
                            many student            and staff
                                            leaders and   staff members
                                                                members by by name.
                                                                              name. II commend
                                                                                       commend the the
statement issued
statement   issued by  Jewish students
                    by Jewish students atat Berkeley
                                            Berkeley Law    that also
                                                      Law that    also condemned
                                                                       condemned these      “abhorrent
                                                                                     these "abhorrent
attacks” and
attacks"  and expressed   Jewish law
               expressed Jewish       students’ commitment
                                  law students'   commitment to  to stand
                                                                     stand with
                                                                           with their
                                                                                 their fellow  students.
                                                                                       fellow students.

II believe
   believe that
           that all  student organizations
                 all student  organizations have
                                              have the
                                                   the right,
                                                        right, and
                                                               and aa legally
                                                                      legally protected
                                                                              protected ability,
                                                                                        ability, to
                                                                                                 to invite
                                                                                                    invite
speakers based
speakers    based onon their  viewpoint to
                        their viewpoint  to the
                                            the events   they host
                                                events they         and sponsor.
                                                              host and   sponsor. We
                                                                                   We must
                                                                                      must be
                                                                                            be consistent
                                                                                                 consistent
in
in defending
    defending that
                that right
                      right for
                            for all
                                all groups,
                                    groups, including
                                            including pro-Palestinian
                                                       pro-Palestinian ones.
                                                                          ones. The
                                                                                The Supreme
                                                                                    Supreme Court
                                                                                               Court has
                                                                                                      has
been
been clear   that those
       clear that  those holding
                          holding events
                                    events have
                                           have aa First Amendment right
                                                   First Amendment      right to
                                                                              to decide
                                                                                 decide the views to
                                                                                        the views   to be
                                                                                                       be
communicated
 communicated at   at those
                       those events.
                             events.
               Case 3:23-cv-06133-SK Document 1-1 Filed 11/28/23 Page 3 of 3

II am
   am aware
      aware that
            that the
                 the current   situation has
                      current situation   has led
                                              led many
                                                  many members
                                                         members of   your community
                                                                   of your  community to to feel
                                                                                            feel more
                                                                                                 more
vulnerable and
vulnerable  and unwelcome
                unwelcome in  in campus    spaces. This
                                  campus spaces.    This concerns
                                                         concerns me
                                                                   me deeply.
                                                                       deeply. Excluding   anyone
                                                                               Excluding anyone
from
from any
      any campus   activity based
          campus activity   based on   their race,
                                    on their race, religion,
                                                   religion, nationality,
                                                             nationality, ethnicity,
                                                                          ethnicity, gender,
                                                                                     gender, or
                                                                                             or
sexuality would
sexuality would represent
                  represent impermissible
                             impermissible discrimination.     As always,
                                              discrimination. As  always, wewe urge  anyone who
                                                                               urge anyone   who
experiences
 experiences or
             or is
                is made
                   made aware
                         aware of    actions that
                                  of actions that they
                                                  they believe
                                                        believe may violate the
                                                                may violate  the Student
                                                                                 Student Code
                                                                                          Code ofof
Conduct
Conduct or
         or campus
            campus regulations
                     regulations toto report
                                      report those
                                              those actions
                                                     actions immediately
                                                             immediately toto Center
                                                                              Center for
                                                                                      for Student
                                                                                          Student
Conduct  and/or the
Conduct and/or    the Office
                      Office for
                             for the
                                 the Prevention
                                      Prevention ofof Harassment  and Discrimination.
                                                      Harassment and    Discrimination.

II believe
   believe that
           that as
                as an
                   an institution
                       institution of of higher
                                         higher education
                                                  education wewe must   seek to
                                                                  must seek   to foster
                                                                                 foster understanding,
                                                                                         understanding,
facilitate
facilitate dialogue,
            dialogue, and
                       and remain
                             remain open     to and
                                       open to  and respectful
                                                     respectful ofof diversity
                                                                     diversity of
                                                                                of perspective.
                                                                                   perspective. In   addition,
                                                                                                  In addition,
my   administration has
my administration      has anan unwavering
                                unwavering commitment
                                                commitment to   to confronting   antisemitism,
                                                                   confronting antisemitism,
Islamophobia,
 Islamophobia, and
                 and all
                       all forms
                           forms ofof discrimination
                                       discrimination andand bias
                                                              bias including
                                                                   including that
                                                                               that against   Jewish students
                                                                                     against Jewish   students
in
in order
    order to
           to provide
              provide all
                        all of
                            of our  students with
                               our students    with a  true sense
                                                     a true  sense of
                                                                    of belonging.
                                                                       belonging. II am
                                                                                      am proud
                                                                                          proud ofof our
                                                                                                     our many
                                                                                                          many
Jewish student
Jewish   student organizations
                  organizations and  and Berkeley    student Chabad
                                          Berkeley student     Chabad to   support and
                                                                        to support    and foster
                                                                                           foster a thriving
                                                                                                  a thriving
community,
 community, andand all
                    all that
                        that is
                              is contributed
                                 contributed to to our  academic mission
                                                   our academic     mission by
                                                                             by our   world-class Jewish
                                                                                 our world-class    Jewish
Studies
Studies program,
          program, the
                     the Magnes
                          Magnes Museum,
                                     Museum, and and the
                                                     the Helen
                                                          Helen Diller
                                                                  Diller Institute
                                                                         Institute of  Jewish Law
                                                                                    of Jewish        and Israel
                                                                                                Law and   Israel
Studies,  which frequently
Studies, which    frequently hosts      speakers and
                                hosts speakers          visiting scholars
                                                   and visiting   scholars from
                                                                            from Israel.
                                                                                   Israel. In
                                                                                           In addition,
                                                                                              addition, II value
                                                                                                           value
the campus
the  campus partnership
               partnership withwith the
                                     the Berkeley
                                          Berkeley Hillel  Jewish Student
                                                    Hillel Jewish   Student Center
                                                                              Center for
                                                                                       for helping
                                                                                           helping to
                                                                                                    to build
                                                                                                       build
community.
 community.

In
In recent weeks II have
   recent weeks    have met  with members
                        met with  members ofof the
                                               the Chancellor’s
                                                   Chancellor's Committee
                                                                Committee on   Jewish Student
                                                                            on Jewish  Student
Life
Life and
     and Campus
         Campus Climate,
                  Climate, and
                           and the
                                the chairperson,
                                    chairperson, Professor
                                                 Professor Ethan
                                                            Ethan Katz.
                                                                  Katz. Together  we are
                                                                        Together we  are
discussing and exploring
discussing and  exploring how   we can
                           how we   can improve
                                        improve the  Jewish experience
                                                 the Jewish             at Berkeley
                                                            experience at  Berkeley by, among
                                                                                    by, among
other things, developing
other things,             substantive responses
              developing substantive   responses to  your concerns,
                                                  to your concerns, needs
                                                                    needs and
                                                                           and interests.
                                                                               interests. II have
                                                                                             have
asked Professor
asked  Professor Katz
                 Katz to
                      to keep
                         keep the
                               the community
                                   community informed
                                               informed about
                                                          about the
                                                                the outcome
                                                                    outcome of
                                                                             of our
                                                                                our efforts.
                                                                                    efforts.

II acknowledge
   acknowledge and     accept that
                 and accept   that our
                                   our university
                                        university isis a work in
                                                        a work in progress.
                                                                  progress. II understand   and deeply
                                                                               understand and     deeply
regret
 regret that
        that here  at Berkeley
             here at  Berkeley members
                                members of of communities
                                              communities which
                                                              which have
                                                                     have been
                                                                            been historically
                                                                                  historically
marginalized
marginalized and
               and discriminated     against far
                     discriminated against   far too
                                                 too often
                                                       often feel
                                                             feel unsafe,
                                                                  unsafe, unwelcome,
                                                                          unwelcome, andand
disrespected.
 disrespected. In
                In the
                   the course
                        course of
                               of my
                                  my meetings,   through this
                                      meetings, through     this message   and aa similar
                                                                 message and      similar one
                                                                                          one II am
                                                                                                 am
sending to
sending   to Muslim
             Muslim and
                      and Palestinian   students, II hope
                           Palestinian students,           to catalyze
                                                     hope to  catalyze thought,
                                                                       thought, discussion
                                                                                  discussion and   action
                                                                                              and action
that will
that  will enable
           enable us
                  us to
                      to more
                         more fully  align our
                               fully align     words and
                                           our words     and deeds  with our
                                                             deeds with   our Principles
                                                                               Principles of
                                                                                          of Community.
                                                                                             Community.

II ask
   ask and
       and urge all of
           urge all of us
                       us to
                          to consider
                             consider how
                                      how even  as we
                                          even as  we disagree,
                                                      disagree, that
                                                                that we
                                                                     we also
                                                                        also recognize
                                                                             recognize and
                                                                                       and
respect
 respect each
         each other’s
              other's humanity
                        humanity and
                                  and place
                                      place in
                                            in our
                                               our community.
                                                   community.

Respectfully yours,
Respectfully yours,

Carol
Carol T.
      T. Christ
         Christ
Chancellor
Chancellor
